We do not think that the facts found in this case bring the offense within the common-law notion of malicious mischief. That seems to be confined to those cases where the act is done in a spirit of wanton malignity, without provocation or excuse, and under circumstances which bespeak a mind prompt and disposed to the commission of mischief. It is essential, says Blackstone, to the commission of this offense, that it must be done of a spirit of wanton cruelty or black and diabolical revenge. 4 Bl., 244.
The conduct of the defendant was certainly highly reprehensible and barbarous, yet it was prompted by the sudden resentment of an injury which is calculated, in no slight degree, to awaken passion; and there is a difference which every one must feel, between an act (332) committed under such circumstances and one where the party goes of his own land in pursuit of an animal which had done him no injury, for the sake of exercising cruelty or perpetrating wanton mischief.
Judgment for the defendant.
NOTE. — See S. v. Simpson, 9 N.C. 460.
Cited: S. v. Robinson, 20 N.C. 131; S. v. Helms, 27 N.C. 365; S. v.Martin, 141 N.C. 838, 839. *Page 257 